Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 1 of 29




                   EXHIBIT B.1
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 2 of 29




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
RAISSA DJUISSI KENGNE                    )
                                         )
                                         )
                  Plaintiff,             )
                                         )
      v.                                 )
                                         )
WESLEY FREEMAN; BDO USA, LLP; SCOTT )
MEIER; PAUL DAVISON; JASON CUDA;         )      CIVIL ACTION FILE
                                         )      __________________
JUSTIN WILKES; ANTHONY REH;              )
PETER POPPO; MARK DAVENPORT;             )
JOHNSON WONG; JUSTIN MUNGAL,             )
                                         )
BEACON MANAGEMENT SERVICES, LLC; )
LISA SIMMONS; STEVEN WEIBEL;             )
1280 WEST CONDOMINIUM ASSOCIATION; )
MICHAEL SHINNERS; MICHAH                 )
KURTZBERG; RONNIE BRIDGES; BRETT         )
DETTMERING; MICHAEL SHAFFER;             )
ROHAN RUPANI,                            )
                                         )
FINCH MCCRANIE; MICHAEL SULLIVAN; )
WALTER JOSPIN;                           )
                                         )
and                                      )
                                         )
INTERFACE, INC;                          )
ATLANTICUS HOLDINGS CORPORATION; )
SPAR GROUP, INC (NMS SPAR);              )
BIOHORIZONS IMPLANT SYSTEM, INC.         )
(an Henry Schein Subsidiary); KAS NADERI )
                                         )
                  Defendants.            )
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 3 of 29




              CERTIFICATION OF CONSENT TO REMOVAL

      Defendant BDO USA, LLP, by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1446(b)(2)(A), hereby certifies

that Defendant Justin Mungal consents to the removal of the action filed by pro se

Plaintiff Raissa Djuissi Kengne in the Superior Court of Fulton County, Georgia,

Case No. 2022-cv-365268 to the United States District Court for the Northern

District of Georgia, Atlanta Division, as evidenced by the signature of his counsel

below.

      By consenting to removal of this action to the District Court for the Northern

District of Georgia, Justin Mungal does not imply or concede that they were properly

joined and served in this matter. Justin Mungal provides this consent to removal

without waiver of or prejudice to his ability to assert any defenses in this matter,

including but not limited to insufficient process (Fed. R. Civ. P. 12(b)(4)) and

insufficient service of process ((Fed. R. Civ. P. 12(b)(5)).
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 4 of 29




This 5th day of July 2022.

                                     /s/ Shane Nichols
                                     Shane Nichols (Georgia Bar No. 542654)

McDermott Will & Emery LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
Telephone: 404-260-8553
E-mail: shanenichols@mwe.com


Counsel for Defendants BDO USA,
LLP; Wesley Freeman; Scott Meier;
Paul Davison; Jason Cuda; Justin
Wilkes; Anthony Reh; Peter Popo;
Marc Davenport; and Johnson
Wong

CONSENT TO REMOVAL

                                      /s/ William Daniel Davis
                                      William Daniel Davis
                                      Georgia Bar No: 746811
                                      ddavis@ichterdavis.com

Ichter Davis, LLC
3340 Peachtree Rd NE #1530
Atlanta GA 30326
Telephone: 404-869-5261
Email: ddavis@ichterdavis.com

Counsel for Justin Mungal.
Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 5 of 29




                   EXHIBIT B.2
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 6 of 29




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
RAISSA DJUISSI KENGNE                    )
                                         )
                                         )
                  Plaintiff,             )
                                         )
      v.                                 )
                                         )
WESLEY FREEMAN; BDO USA, LLP; SCOTT )
MEIER; PAUL DAVISON; JASON CUDA;         )      CIVIL ACTION FILE
                                         )      __________________
JUSTIN WILKES; ANTHONY REH;              )
PETER POPPO; MARK DAVENPORT;             )
JOHNSON WONG; JUSTIN MUNGAL,             )
                                         )
BEACON MANAGEMENT SERVICES, LLC; )
LISA SIMMONS; STEVEN WEIBEL;             )
1280 WEST CONDOMINIUM ASSOCIATION; )
MICHAEL SHINNERS; MICHAH                 )
KURTZBERG; RONNIE BRIDGES; BRETT         )
DETTMERING; MICHAEL SHAFFER;             )
ROHAN RUPANI,                            )
                                         )
FINCH MCCRANIE; MICHAEL SULLIVAN; )
WALTER JOSPIN;                           )
                                         )
and                                      )
                                         )
INTERFACE, INC;                          )
ATLANTICUS HOLDINGS CORPORATION; )
SPAR GROUP, INC (NMS SPAR);              )
BIOHORIZONS IMPLANT SYSTEM, INC.         )
(an Henry Schein Subsidiary); KAS NADERI )
                                         )
                  Defendants.            )
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 7 of 29




              CERTIFICATION OF CONSENT TO REMOVAL

      Defendant BDO USA, LLP, by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1446(b)(2)(A), hereby certifies

that Defendants Beacon Management Services, LLC, Lisa Simmons, Steven Weibel,

1280 West Condominium Association, Michael Shinners, Micah Kurtzberg, Ronnie

Bridges, Brett Dettmering, Michael Shaffer, and Rohan Rupani (collectively,

“Beacon Management and 1280 Condo Defendants”) consent to the removal of the

action filed by pro se Plaintiff Raissa Djuissi Kengne in the Superior Court of Fulton

County, Georgia, Case No. 2022-cv-365268 to the United States District Court for

the Northern District of Georgia, Atlanta Division, as evidenced by the signature of

their counsel below.

      By consenting to removal of this action to the District Court for the Northern

District of Georgia, the Beacon Management and 1280 Condo Defendants do not

imply or concede that they were properly joined and served in this matter. The

Beacon Management and 1280 Condo Defendants provide this consent to removal

without waiver of or prejudice to their ability to assert any defenses in this matter,

including but not limited to insufficient process (Fed. R. Civ. P. 12(b)(4)) and

insufficient service of process ((Fed. R. Civ. P. 12(b)(5)).
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 8 of 29




This 5th day of July 2022.

                                       /s/ Shane Nichols
                                       Shane Nichols (Georgia Bar No. 542654)

McDermott Will & Emery LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
Telephone: 404-260-8553
E-mail: shanenichols@mwe.com


Counsel for Defendants BDO USA,
LLP; Wesley Freeman; Scott Meier;
Paul Davison; Jason Cuda; Justin
Wilkes; Anthony Reh; Peter Popo;
Marc Davenport; and Johnson
Wong

CONSENT TO REMOVAL

                                       /s/ Jason LoMonaco
                                       Jason LoMonaco
                                       Georgia Bar No: 141836
                                       jason@nowackhoward.com

Nowack Howard
One Alliance Center, Suite 1650,
3500 Lenox Road NE,
Atlanta GA 30326
Telephone: 631-777-5345
Email: jason@nowackhoward.com

Counsel for Beacon Management
Services, LLC, Lisa Simmons, Steven
Weibel, 1280 West Condominium
Association, Michael Shinners, Micah
Kurtzberg, Ronnie Bridges, Brett
Dettmering, Michael Shaffer, and
Rohan Rupani
Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 9 of 29




                   EXHIBIT B.3
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 10 of 29




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
RAISSA DJUISSI KENGNE                    )
                                         )
                                         )
                  Plaintiff,             )
                                         )
      v.                                 )
                                         )
WESLEY FREEMAN; BDO USA, LLP; SCOTT )
MEIER; PAUL DAVISON; JASON CUDA;         )      CIVIL ACTION FILE
                                         )      __________________
JUSTIN WILKES; ANTHONY REH;              )
PETER POPPO; MARK DAVENPORT;             )
JOHNSON WONG; JUSTIN MUNGAL,             )
                                         )
BEACON MANAGEMENT SERVICES, LLC; )
LISA SIMMONS; STEVEN WEIBEL;             )
1280 WEST CONDOMINIUM ASSOCIATION; )
MICHAEL SHINNERS; MICHAH                 )
KURTZBERG; RONNIE BRIDGES; BRETT         )
DETTMERING; MICHAEL SHAFFER;             )
ROHAN RUPANI,                            )
                                         )
FINCH MCCRANIE; MICHAEL SULLIVAN; )
WALTER JOSPIN;                           )
                                         )
and                                      )
                                         )
INTERFACE, INC;                          )
ATLANTICUS HOLDINGS CORPORATION; )
SPAR GROUP, INC (NMS SPAR);              )
BIOHORIZONS IMPLANT SYSTEM, INC.         )
(an Henry Schein Subsidiary); KAS NADERI )
                                         )
                  Defendants.            )
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 11 of 29




              CERTIFICATION OF CONSENT TO REMOVAL

      Defendant BDO USA, LLP, by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1446(b)(2)(A), hereby certifies

that Defendants Finch McCranie, Michael Sullivan and Walter Jospin, (collectively,

“Finch McCranie Defendants”) consent to the removal of the action filed by pro se

Plaintiff Raissa Djuissi Kengne in the Superior Court of Fulton County, Georgia,

Case No. 2022-cv-365268 to the United States District Court for the Northern

District of Georgia, Atlanta Division, as evidenced by the signature of their counsel

below.

      By consenting to removal of this action to the District Court for the Northern

District of Georgia, the Finch McCranie Defendants do not imply or concede that

they were properly joined and served in this matter. The Finch McCranie Defendants

provide this consent to removal without waiver of or prejudice to their ability to

assert any defenses in this matter, including but not limited to insufficient process

(Fed. R. Civ. P. 12(b)(4)) and insufficient service of process ((Fed. R. Civ. P.

12(b)(5)).
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 12 of 29




This 5th day of July 2022.

                                       /s/ Shane Nichols
                                       Shane Nichols (Georgia Bar No. 542654)

McDermott Will & Emery LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
Telephone: 404-260-8553
E-mail: shanenichols@mwe.com


Counsel for Defendants BDO USA,
LLP; Wesley Freeman; Scott Meier;
Paul Davison; Jason Cuda; Justin
Wilkes; Anthony Reh; Peter Popo;
Marc Davenport; and Johnson
Wong

CONSENT TO REMOVAL

                                       /s/ Kathryn S. Whitlock
                                       Kathryn S. (“Kate”) Whitlock
                                       Georgia Bar No: 756233
                                       kwhitlock@wshblaw.com


Wood Smith Henning & Berman LLP
1230 Peachtree Street, NE, Suite 925
Atlanta, GA 30309
Telephone: 470-552-1172
Email: kwhitlock@wshblaw.com

Counsel for Finch McCranie, Michael
Sullivan and Walter Jospin
Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 13 of 29




                   EXHIBIT B.4
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 14 of 29




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
RAISSA DJUISSI KENGNE                    )
                                         )
                                         )
                  Plaintiff,             )
                                         )
      v.                                 )
                                         )
WESLEY FREEMAN; BDO USA, LLP; SCOTT )
MEIER; PAUL DAVISON; JASON CUDA;         )       CIVIL ACTION FILE
                                         )       __________________
JUSTIN WILKES; ANTHONY REH;              )
PETER POPPO; MARK DAVENPORT;             )
JOHNSON WONG; JUSTIN MUNGAL,             )
                                         )
BEACON MANAGEMENT SERVICES, LLC; )
LISA SIMMONS; STEVEN WEIBEL;             )
1280 WEST CONDOMINIUM ASSOCIATION; )
MICHAEL SHINNERS; MICHAH                 )
KURTZBERG; RONNIE BRIDGES; BRETT         )
DETTMERING; MICHAEL SHAFFER;             )
ROHAN RUPANI,                            )
                                         )
FINCH MCCRANIE; MICHAEL SULLIVAN; )
WALTER JOSPIN;                           )
                                         )
and                                      )
                                         )
INTERFACE, INC;                          )
ATLANTICUS HOLDINGS CORPORATION; )
SPAR GROUP, INC (NMS SPAR);              )
BIOHORIZONS IMPLANT SYSTEM, INC.         )
(an Henry Schein Subsidiary); KAS NADERI )
                                         )
                  Defendants.            )
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 15 of 29




              CERTIFICATION OF CONSENT TO REMOVAL

      Defendant BDO USA, LLP, by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1446(b)(2)(A), hereby certifies

that Defendant Interface, Inc. consents to the removal of the action filed by pro se

Plaintiff Raissa Djuissi Kengne in the Superior Court of Fulton County, Georgia,

Case No. 2022-cv-365268 to the United States District Court for the Northern

District of Georgia, Atlanta Division, as evidenced by the signature of its counsel

below.

      By consenting to removal of this action to the District Court for the Northern

District of Georgia, Interface, Inc. does not imply or concede that they were properly

joined and served in this matter. Interface, Inc. provides this consent to removal

without waiver of or prejudice to its ability to assert any defenses in this matter,

including but not limited to insufficient process (Fed. R. Civ. P. 12(b)(4)) and

insufficient service of process ((Fed. R. Civ. P. 12(b)(5)).
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 16 of 29




This 5th day of July 2022.

                                    /s/ Shane Nichols
                                    Shane Nichols (Georgia Bar No. 542654 )

McDermott Will & Emery LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
Telephone: 404-260-8553
E-mail: shanenichols@mwe.com


Counsel for Defendants BDO USA,
LLP; Wesley Freeman; Scott Meier;
Paul Davison; Jason Cuda; Justin
Wilkes; Anthony Reh; Peter Popo;
Marc Davenport; and Johnson
Wong

CONSENT TO REMOVAL

                                         /s/ Stephen E. Hudson
                                         Stephen E. Hudson
                                         Georgia Bar No: 374692
                                         shudson@kilpatricktownsend.com

Kilpatrick Townsend & Stockton LLP
1100 Peachtree Street NE, Suite 2800
Atlanta, GA 30309-4528
Telephone: 404 815 6356
E-mail: shudson@kilpatricktownsend.com

Counsel for Interface, Inc.
Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 17 of 29




                   EXHIBIT B.5
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 18 of 29




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
RAISSA DJUISSI KENGNE                    )
                                         )
                                         )
                  Plaintiff,             )
                                         )
      v.                                 )
                                         )
WESLEY FREEMAN; BDO USA, LLP; SCOTT )
MEIER; PAUL DAVISON; JASON CUDA;         )       CIVIL ACTION FILE
                                         )       __________________
JUSTIN WILKES; ANTHONY REH;              )
PETER POPPO; MARK DAVENPORT;             )
JOHNSON WONG; JUSTIN MUNGAL,             )
                                         )
BEACON MANAGEMENT SERVICES, LLC; )
LISA SIMMONS; STEVEN WEIBEL;             )
1280 WEST CONDOMINIUM ASSOCIATION; )
MICHAEL SHINNERS; MICHAH                 )
KURTZBERG; RONNIE BRIDGES; BRETT         )
DETTMERING; MICHAEL SHAFFER;             )
ROHAN RUPANI,                            )
                                         )
FINCH MCCRANIE; MICHAEL SULLIVAN; )
WALTER JOSPIN;                           )
                                         )
and                                      )
                                         )
INTERFACE, INC;                          )
ATLANTICUS HOLDINGS CORPORATION; )
SPAR GROUP, INC (NMS SPAR);              )
BIOHORIZONS IMPLANT SYSTEM, INC.         )
(an Henry Schein Subsidiary); KAS NADERI )
                                         )
                  Defendants.            )
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 19 of 29




              CERTIFICATION OF CONSENT TO REMOVAL

      Defendant BDO USA, LLP, by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1446(b)(2)(A), hereby certifies

that Defendants Atlanticus Holdings Corporation and Kas Naderi consent to the

removal of the action filed by pro se Plaintiff Raissa Djuissi Kengne in the Superior

Court of Fulton County, Georgia, Case No. 2022-cv-365268 to the United States

District Court for the Northern District of Georgia, Atlanta Division, as evidenced

by the signatures of their counsel below.

      By consenting to removal of this action to the District Court for the Northern

District of Georgia, Atlanticus Holdings Corporation and Kas Naderi do not imply

or concede that they were properly joined and served in this matter. Atlanticus

Holdings Corporation and Kas Naderi provide this consent to removal without

waiver of or prejudice to their ability to assert any defenses in this matter, including

but not limited to insufficient process (Fed. R. Civ. P. 12(b)(4)) and insufficient

service of process ((Fed. R. Civ. P. 12(b)(5)).
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 20 of 29




This 5th day of July 2022.

                                      /s/ Shane Nichols
                                      Shane Nichols (Georgia Bar No. 542654)


McDermott Will & Emery LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
Telephone: 404-260-8553
E-mail: shanenichols@mwe.com


Counsel for Defendants BDO USA,
LLP; Wesley Freeman; Scott Meier;
Paul Davison; Jason Cuda; Anthony
Reh; Peter Popo; Marc Davenport;
and Johnson Wong

CONSENT TO REMOVAL

                                           /s/ Mary M. Weeks
                                           Mary M. Weeks
                                           Georgia Bar No. 559181
                                           mary.weeks@troutman.com
TROUTMAN PEPPER HAMILTON
SANDERS LLP
600 Peachtree Street NE, Suite 3000
Atlanta, GA 30308
Telephone : 404-885-3634
mary.weeks@troutman.com

Counsel for Atlanticus Holdings
Corporation and Kas Naderi
Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 21 of 29




                   EXHIBIT B.6
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 22 of 29




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
RAISSA DJUISSI KENGNE                    )
                                         )
                                         )
                  Plaintiff,             )
                                         )
      v.                                 )
                                         )
WESLEY FREEMAN; BDO USA, LLP; SCOTT )
MEIER; PAUL DAVISON; JASON CUDA;         )       CIVIL ACTION FILE
                                         )       __________________
JUSTIN WILKES; ANTHONY REH;              )
PETER POPPO; MARK DAVENPORT;             )
JOHNSON WONG; JUSTIN MUNGAL,             )
                                         )
BEACON MANAGEMENT SERVICES, LLC; )
LISA SIMMONS; STEVEN WEIBEL;             )
1280 WEST CONDOMINIUM ASSOCIATION; )
MICHAEL SHINNERS; MICHAH                 )
KURTZBERG; RONNIE BRIDGES; BRETT         )
DETTMERING; MICHAEL SHAFFER;             )
ROHAN RUPANI,                            )
                                         )
FINCH MCCRANIE; MICHAEL SULLIVAN; )
WALTER JOSPIN;                           )
                                         )
and                                      )
                                         )
INTERFACE, INC;                          )
ATLANTICUS HOLDINGS CORPORATION; )
SPAR GROUP, INC (NMS SPAR);              )
BIOHORIZONS IMPLANT SYSTEM, INC.         )
(an Henry Schein Subsidiary); KAS NADERI )
                                         )
                  Defendants.            )
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 23 of 29




              CERTIFICATION OF CONSENT TO REMOVAL

      Defendant BDO USA, LLP, by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1446(b)(2)(A), hereby certifies

that Defendant SPAR Group, Inc.1, consents to the removal of the action filed by

pro se Plaintiff Raissa Djuissi Kengne in the Superior Court of Fulton County,

Georgia, Case No. 2022-cv-365268 to the United States District Court for the

Northern District of Georgia, Atlanta Division, as evidenced by the signature of its

counsel below.

      By consenting to removal of this action to the District Court for the Northern

District of Georgia, SPAR Group, Inc., does not imply or concede that it was

properly joined and served in this matter. SPAR Group, Inc., provides this consent

to removal without waiver of or prejudice to its ability to assert any defenses in this

matter, including but not limited to, insufficient process (Fed. R. Civ. P. 12(b)(4))

and insufficient service of process ((Fed. R. Civ. P. 12(b)(5)).




1
  It is unclear whether Plaintiff has named SPAR Group, Inc., or its 51% owned
joint business venture, National Merchandising Services, LLC, or either, as a
Defendant in this matter. SPAR Group Inc.’s General Counsel, Lawrence David
Swift (the signatory below to this Consent to Removal), speaking on behalf and
with the consent of both SPAR Group, Inc., and National Merchandising Services,
LLC, and without acknowledging the involvement of either such company,
authorizes and signs this consent to removal as to both parties.
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 24 of 29




This 5th day of July 2022.

                                         /s/ Shane Nichols
                                       Shane Nichols (Georgia Bar No. 542654)

McDermott Will & Emery LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
Telephone: 404-260-8553
E-mail: shanenichols@mwe.com

Counsel for Defendants BDO USA,
LLP; Wesley Freeman; Scott Meier;
Paul Davison; Jason Cuda; Justin
Wilkes; Anthony Reh; Peter Popo;
Marc Davenport; and Johnson
Wong

CONSENT TO REMOVAL

                                       Larry David Swift
                                       __________________
                                       Lawrence David Swift
                                       General Counsel
                                       SPAR Group, Inc.

SPAR Group, Inc.
National Merchandising Services, LLC
Telephone: 212-704-6000
Email: ldswift@sparinc.com

Counsel for SPAR Group, Inc.
Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 25 of 29




                   EXHIBIT B.7
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 26 of 29




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
RAISSA DJUISSI KENGNE                    )
                                         )
                                         )
                  Plaintiff,             )
                                         )
      v.                                 )
                                         )
WESLEY FREEMAN; BDO USA, LLP; SCOTT )
MEIER; PAUL DAVISON; JASON CUDA;         )       CIVIL ACTION FILE
                                         )       __________________
JUSTIN WILKES; ANTHONY REH;              )
PETER POPPO; MARK DAVENPORT;             )
JOHNSON WONG; JUSTIN MUNGAL,             )
                                         )
BEACON MANAGEMENT SERVICES, LLC; )
LISA SIMMONS; STEVEN WEIBEL;             )
1280 WEST CONDOMINIUM ASSOCIATION; )
MICHAEL SHINNERS; MICHAH                 )
KURTZBERG; RONNIE BRIDGES; BRETT         )
DETTMERING; MICHAEL SHAFFER;             )
ROHAN RUPANI,                            )
                                         )
FINCH MCCRANIE; MICHAEL SULLIVAN; )
WALTER JOSPIN;                           )
                                         )
and                                      )
                                         )
INTERFACE, INC;                          )
ATLANTICUS HOLDINGS CORPORATION; )
SPAR GROUP, INC (NMS SPAR);              )
BIOHORIZONS IMPLANT SYSTEM, INC.         )
(an Henry Schein Subsidiary); KAS NADERI )
                                         )
                  Defendants.            )
    Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 27 of 29




              CERTIFICATION OF CONSENT TO REMOVAL

      Defendant Biohorizons Implant Systems, Inc., by and through undersigned

counsel, and pursuant to Fed. R. Civ. P. 11(b) and 28 U.S.C. § 1446(b)(2)(A), hereby

consents to the removal of the action filed by pro se Plaintiff Raissa Djuissi Kengne

in the Superior Court of Fulton County, Georgia, Case No. 2022-cv-365268 to the

United States District Court for the Northern District of Georgia, Atlanta Division,

as evidenced by the signature of its counsel below.

      By consenting to removal of this action to the District Court for the Northern

District of Georgia, Biohorizons Implant Systems, Inc. does not imply or concede

that it was properly joined and served in this matter. Biohorizons Implant Systems,

Inc. provides this consent to removal without waiver of or prejudice to its ability to

assert any defenses in this matter, including but not limited to insufficient process

(Fed. R. Civ. P. 12(b)(4)) and insufficient service of process ((Fed. R. Civ. P.

12(b)(5)).
   Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 28 of 29




This 5th day of July 2022.

                                    /s/ Shane Nichols
                                    Shane Nichols (Georgia Bar No. 542654)

McDermott Will & Emery LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
Telephone: 404-260-8553
E-mail: shanenichols@mwe.com

Counsel for Defendants BDO USA,
LLP; Wesley Freeman; Scott Meier;
Paul Davison; Jason Cuda; Justin
Wilkes; Anthony Reh; Peter Popo;
Marc Davenport; and Johnson
Wong

CONSENT TO REMOVAL

                                         /s/ Elizabeth J. Cambell
                                         Elizabeth J. Campbell
                                         Georgia Bar No. 349249
                                         ecampbell@lockelord.com

Locke Lord LLP
Terminus 200, Suite 1200
3333 Piedmont Road NE
Atlanta , GA 30305
Telephone: 404-870-4600
ecampbell@lockelord.com

John P. McDonald
Texas Bar No. 13549090
Madeleine E. Brunner
Texas Bar No. 24105547
Locke Lord LLP
2200 Ross Avenue, Suite 2800
Dallas, TX 75201
Telephone: (214) 740-8000
  Case 1:22-cv-02653-SEG-CMS Document 1-2 Filed 07/05/22 Page 29 of 29




jmcdonald@lockelord.com
maddie.brunner@lockelord.com

Counsel for Defendant BioHorizons
Implant Systems, Inc.
